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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA


 UNITED STATES OF AMERICA,                         )
                                                   )
         vs.                                       )
                                                   )       1:07-CR-106-WTL-KPF-3
 LARRY WILLIAMS,                                   )
                                                   )
                             Defendant.            )



                    Order Denying Motion for Sentence Modification

       In April 2009, Williams filed the present § 3582(c)(2) motion based on Amendments
 706 and 711 to the Sentencing Guidelines.

        Section 3582(c)(2) gives district courts the authority to consider reducing the
 sentence “of a defendant who has been sentenced to a term of imprisonment based on a
 sentencing range that has subsequently been lowered by the Sentencing Commission.” 18
 U.S.C. § 3582(c)(2). In considering whether a defendant is eligible for a sentence reduction,
 the court considers only the effect of the applicable guideline amendment, and leaves all
 other factual findings and guideline application decisions made during the original
 sentencing unchanged. United States v. Bravo, 203 F.3d 778, 780 (11th Cir. 2000).

         Amendment 706 reduced the base offense level for amounts of cocaine of at least
 1.5 kilograms but less than 4.5 kilograms from 38 to 36. Nevertheless, amounts of 4.5
 kilograms or more of crack cocaine are still subject to a base offense level of 38. U.S.S.G.
 § 2D1.1(c)(1). Thus, a defendant responsible for 4.5 kilograms or more of crack cocaine
 is not eligible for a sentence reduction under Amendment 706. United States v. Hall, 600
 F.3d 872 (7th Cir. 2010).

         Williams was indicted for and convicted of conspiracy to possess with intent to
 distribute five kilograms or more of cocaine. He is thus ineligible for the reduction
 authorized in certain circumstances by Amendment 706 and his motion for modification of
 sentence (dkt 296) is denied.

         IT IS SO ORDERED.



                                                  _______________________________
         05/14/2010
 Date:                                             Hon. William T. Lawrence, Judge
                                                   United States District Court
                                                   Southern District of Indiana
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